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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 CARTINA REED                                 §
                                              §
                  Plaintiff,                  §              C.A. NO. 21-1752
 v.                                           §
                                              §
 HTI, LTD. d/b/a                              §
 THE HUNTON GROUP                             §
                                              §
                  Defendant.                  §



                     PLAINTIFF’S ORIGINAL COMPLAINT

           Plaintiff, CARTINA REED, files this Original Complaint and shows:

                                             I.
                                          PARTIES

      1)     Plaintiff CARTINA REED is an individual who resides in Texas.

      2)     Defendant HTI LTD. d/b/a THE HUNTON GROUP is a Texas corporation

which may be served through its Registered Agent Stewart A. Feldman 1980 Post

Oak Blvd., Suite 1900, Houston, TX 77056.

                                             II.
                                 JURISDICTION AND VENUE

      3)     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 based on the

federal question at issue.

      4)     Venue is proper pursuant to 28 U.S.C. § 1391(b) as a substantial part of the

events giving rise to the claim occurred in this District.
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                                      III.
                              FACTUAL BACKGROUND

   5)     On June 12, 2018, Plaintiff Cartina Reed ("Reed") began employment as an

Estimator for the Service Division within The Hunton Group ("Hunton"). Reed had

years of experience as an Estimator. Reed performed exceptionally well throughout

her tenure.

   6)     Unbeknownst to Reed at the time of her hire, Hunton has a pattern and

practice of terminating female employees who become pregnant while employed at

Hunton. In the two years prior to Reed's employment, Hunton terminated at least

three female employees who became pregnant while employed. Each such employee

remained employed until their respective deliveries, at which point, each took a

short period off and were told that they should inform Hunton upon their expected

return. In each case, the female employees timely notified Hunton of their expected

return dates and each were told that their positions had been filled with another

individual.

   7)     Two weeks after beginning her employment with Hunton, Reed became

aware she was pregnant and timely notified her manager. In late January 2019,

Reed was placed on bed rest and thereafter delivered her baby on February 11,

2019. When Reed was able to return to work shortly after her delivery, she notified

Hunton management.

   8)     On February 28, 2019, Reed was informed that her position had been filled

but that she could reapply for any eligible position.



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   9)     Since her position was allegedly filled, Reed applied to four (4) positions

within Hunton which were available and for each of which she was qualified. Not

only was Reed not offered any of the open and available positions, but she was

never even allowed to interview for any of the positions.

   10) Reed was replaced in her job as an Estimator because of her gender and

pregnancy. Numerous other employees who have taken time off from work because

of non-pregnancy related issues have remained employed with Hunton. Reed was

also not hired for any other available position within Hunton likewise because she

became pregnant and took time off from work because of her pregnancy. Hunton

has a pattern and practice of discriminating against pregnant employees. Reed

suffered significant damages as a result of the discrimination.

                                        IV.
                                  CAUSE OF ACTION

Violation of the Pregnancy Discrimination Act/Title VII

   11) Reed was replaced in her job as an Estimator because of her gender and

pregnancy. Numerous other employees who have taken time off from work because

of non-pregnancy related issues have remained employed with Hunton. Reed was

also not hired for any other available position within Hunton likewise because she

became pregnant and took time off from work because of her pregnancy. Hunton

has a pattern and practice of discriminating against pregnant employees. Reed

suffered significant damages as a result of the discrimination.




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                                         V.
                                     DAMAGES

   12) Plaintiff seeks the following damages:

             Lost back pay and benefits;
             Lost front pay and benefits;
             Emotional/mental anguish;
             Punitive damages;
             Attorneys’ fees;
             Pre-judgment and post-judgment interest; and,
             Costs of court.

       Plaintiff seeks damages in excess of $5,000,000.

                                           VI.
                                        PRAYER

   13) WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant

be cited to appear and answer herein, that upon final trial hereof, Plaintiff recovers

her actual damages, plus reasonable attorneys’ fees and costs of court and for such

other and further relief, both general and special, at law and in equity, to which she

may show herself justly entitled under all attending facts and circumstances.

Plaintiff requests a jury trial.

                                       Respectfully submitted,

                                       SHELLIST | LAZARZ | SLOBIN LLP

                                       /s/ Mark G. Lazarz
                                       Mark G. Lazarz
                                       TBA No. 12069100
                                       ATTORNEYS FOR PLAINTIFF
Of Counsel:

SHELLIST | LAZARZ | SLOBIN LLP
11 Greenway Plaza, Suite 1515
Houston, Texas 77046
Telephone: (713) 621-2277
Facsimile: (713) 621-0993
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